                 Case 3:19-cr-00054-RS Document 328 Filed 04/19/22 Page 1 of 5




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10                                    UNITED STATES DISTRICT COURT

11                                  NORTHERN DISTRICT OF CALIFORNIA

12                                         SAN FRANCISCO DIVISION

13
     UNITED STATES OF AMERICA,                        )   CASE NO. CR 19-00054-02 RS
14                                                    )
               Plaintiff,                             )   UNITED STATES’ SENTENCING
15                                                    )   MEMORANDUM
          v.                                          )
16                                                    )
     LUIS MANUEL AMADOR,                              )
17                                                    )   Date: April 26, 2022
               Defendant.                             )   Time: 9:30 a.m.
18                                                    )   Hon. Richard Seeborg
                                                      )
19

20
     I.        INTRODUCTION
21
               From at least February to November 2018, Luis Amador and others participated in a conspiracy
22
     to distribute large quantities of methamphetamine and other narcotics. Amador was a broker and runner
23
     for the conspiracy. He worked with his co-defendant, Emanuel Rivera, who was his boss and the
24
     supplier for the conspiracy. Together, they sold large quantities of drugs to customers, who they
25
     believed would then sell the same drugs to other customers and eventually to drug users in our
26
     community. As part of the conspiracy, Amador participated in at least four separate, large-quantity
27
     methamphetamine transactions. Specifically, Amador introduced Rivera to the customer, and then
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     U.S. SENTENCING MEMO.                            1
     CR 19-0054-02 RS
               Case 3:19-cr-00054-RS Document 328 Filed 04/19/22 Page 2 of 5




 1 would take instructions from Rivera and place narcotics in hidden locations for the customer to find.

 2 Sometimes, Amador would also collect payment for the drugs and return the money to Rivera.

 3          Amador pled guilty to two counts of the Indictment, one of which carries a 120-month

 4 mandatory minimum sentence. Because Amador is safety-valve eligible and truthfully debriefed with

 5 the government, he is not subject to that mandatory minimum. The parties and Probation are in

 6 agreement that the Total Offense Level is 26, Criminal History Category is II, yielding an advisory

 7 Guidelines range of 70-87 months’ imprisonment. Probation recommends a sentence of 24 months

 8 imprisonment. Given the length of the conspiracy and the significant amount of narcotics distributed,

 9 the government does not believe that sentence to be sufficient. The government believes that a 51

10 month sentence – which represents the low-end of the applicable Guidelines range after a three-level

11 downward variance – is an appropriate sentence taking into account the relevant the 3553(a) factors.

12 Therefore, the government recommends a sentence of 51 months in custody, to be followed by three

13 years of supervised release and a $200 special assessment.

14 II.      DISCUSSION

15          The Court must impose a sentence sufficient, but not greater than necessary, to reflect the

16 seriousness of the offense, deter others from committing similar crimes, protect the public from the

17 defendant, and rehabilitate the defendant. 18 U.S.C. § 3553(a)(2); United States v. Carty, 520 F.3d 984,

18 991 (9th Cir. 2008). The statute sets forth several factors that the Court must consider in determining a
19 just sentence: (1) the nature and circumstances of the offense and the defendant’s history and

20 characteristics; (2) the purposes of sentencing; (3) the kinds of sentences available; (4) the Guidelines

21 range for sentences; (5) any pertinent policy statements; (6) the need to avoid unwarranted sentencing

22 disparities and the need to provide restitution to any victims of the offense. 18 U.S.C. § 3553(a); Carty,

23 520 F.3d at 991. A sentence should reflect the seriousness of the offense, promote respect for the law,

24 provide just punishment to the offender, deter the defendant and others from committing similar crimes

25 in the future and protect the community from future crimes of the defendant. 18 U.S.C. § 3553(a)(2).

26 The Guidelines should be the starting point and the initial benchmark. Gall v. United States, 552 U.S.

27 38, 49 (2007). Though the guidelines are not binding, they “reflect a rough approximation of sentences

28 that might achieve section 3553(a)’s objectives.” Rita v. United States, 551 U.S. 338, 350 (2007). In

     U.S. SENTENCING MEMO.                           2
     CR 19-0054-02 RS
               Case 3:19-cr-00054-RS Document 328 Filed 04/19/22 Page 3 of 5




 1 this case, the applicable guidelines range is 70-87 months. The government believes that a sentence of

 2 51 months achieves the goals of sentencing set forth in §3553(a).

 3           By his own admissions, Luis Amador was a major player in a sizable drug conspiracy for

 4 approximately one year. Amador’s role in the DTO was to find customers for Rivera and then help

 5 monitor and effectuate deals for large amounts of methamphetamine.

 6           As part of the methamphetamine conspiracy, Amador participated in at least four significant

 7 transactions. In February 2018, he connected Rivera to a customer (who was, in fact, a confidential

 8 source (“CS”) working for law enforcement) to purchase one kilogram of methamphetamine for $6,900.

 9 That deal took place on February 28, 2018, when Rivera instructed another co-defendant, Manuel Islas,

10 to deliver the kilogram of methamphetamine to a customer outside of an auto body shop in South San

11 Francisco. Amador worked at the auto body shop, and monitored the transaction as it occurred.

12           On May 1, 2018, the CS again approached Amador expressing an interest in purchasing a

13 kilogram of methamphetamine. Amador connected the CS to Rivera, and Rivera personally delivered

14 one kilogram of methamphetamine to the CS’s friend, who was in fact an undercover officer (“UC”), for

15 the negotiated price of $6,700.

16           On June 21, 2018, Rivera arranged for the sale of another kilogram of methamphetamine to the

17 same customer for $6,700. He instructed an associate to deliver a vehicle containing the

18 methamphetamine under the front passenger seat. Once the associate delivered the vehicle to the
19 agreed-upon location, outside of the same auto body shop, Rivera instructed the customer to retrieve the

20 methamphetamine from under the front passenger seat. Amador was in the shop during the transaction

21 monitoring the goings on. As part of this transaction, Rivera agreed that the customer could pay him for

22 the methamphetamine the next day, June 22, 2018. On that day, Amador was supposed to pick up the

23 money but was not at the Pacific Auto Body Shop, so Rivera arranged for the customer to leave the

24 money with co-defendant Franklin Quiros at his place of work, in San Bruno, California. Rivera also

25 sent Amador to Quiros’s place of work to observe the exchange of money between the customer and

26 Quiros.

27           On November 6, 2018, Rivera sold one pound of methamphetamine to the UC on November 8,

28 2018 for $3,300. Rivera instructed an associate to deliver a vehicle containing the methamphetamine to

     U.S. SENTENCING MEMO.                           3
     CR 19-0054-02 RS
                 Case 3:19-cr-00054-RS Document 328 Filed 04/19/22 Page 4 of 5




 1 the auto body shop. Inside the vehicle, secreted in an anti-freeze container, was one pound of

 2 methamphetamine. Amador was at the shop when the vehicle arrived, and Rivera instructed him to

 3 move the anti-freeze container from the back of the vehicle and place the container in the front

 4 passenger side of the vehicle, which Amador did. Rivera also instructed Amador to leave the vehicle

 5 door unlocked, and then instructed the customer to retrieve the methamphetamine, secreted in an anti-

 6 freeze container, from the vehicle, and to leave the cash payment for the methamphetamine in the

 7 vehicle. After the transaction, Amador confirmed for me that the money for the transaction was in the

 8 vehicle.

 9          The Court must consider the purposes of sentencing here – including both punishment and

10 deterrence. The defendant was an important part of a major narcotics conspiracy that lasted for the

11 better part of a year. As described above, Amador connected Rivera with at least one customer (the CS)

12 and helped monitor and effectuate drug transactions. His conduct gravely compromised the health and

13 safety of the community, and presented a danger that must be prevented. Amador is responsible for well

14 over a kilogram of methamphetamine. If those drugs had reached the streets, they would have provided

15 thousands of personal uses of dangerous and deadly drugs to customers. Moreover, narcotics

16 transactions—particularly those that involve large amounts of drugs and high dollar amounts—

17 inevitably invite violence. While there is no allegation in this case that Amador or any of his co-

18 defendants used weapons, threats, or intimidation to deal narcotics, that danger is always present in
19 situations like the ones Amador fostered.

20          A sentence of 51 months is appropriate when considering the sentences already imposed by this

21 Court in this case. Manuel Islas was sentenced to 14 months in prison, but his role was confined solely

22 to delivering drugs on Rivera’s behalf, and he did not arrange drug deals or introduce Rivera to potential

23 customers as Amador did. Efren Contreras was sentenced to 18 months in prison, and while Contreras

24 did orchestrate a narcotics deal himself, it was for one ounce of methamphetamine. As described above,

25 Amador is responsible for selling considerably more than Contreras. Salak was sentenced to 14 months

26 for picking up a kilogram of cocaine from Rivera. This defendant, on the other hand, introduced Rivera

27 to at least one drug customer and was part of multiple transactions. 1

28
            1
                The government notes here that Rivera was sentenced to 36 months in custody, but the
     U.S. SENTENCING MEMO.                            4
     CR 19-0054-02 RS
              Case 3:19-cr-00054-RS Document 328 Filed 04/19/22 Page 5 of 5




 1          On the other hand, the government acknowledges that there are important mitigating factors in

 2 this case. As a result, the government believes that a three-level downward variance to Amador’s

 3 Guidelines range, leading to a Total Offense Level of 23, is appropriate. To begin, the defendant has a

 4 relatively limited criminal history, with only one adult felony conviction since 2005 (for which he was

 5 sentenced to three years’ probation). Furthermore, the PSR details the challenges that Rivera had to

 6 overcome in his life. See PSR ¶¶ 81-109. In particular, he had a very difficult childhood, and was the

 7 victim of serious and traumatic abuse, which has led to mental health issues as an adult. Amador is also

 8 the primary caregiver for his elderly parents. Finally, Amador quickly accepted responsibility for his

 9 criminal conduct, and has performed well on pretrial release. In considering the purposes at sentencing,

10 the defendant’s quick and fulsome admission of his criminal behavior opened the door to his

11 rehabilitation, and affects what sentence is necessary in terms of deterring future criminal conduct by

12 this defendant. For these reasons, the government believes that a sentence at the low-end of the

13 applicable Guidelines range after a three-level downward variance is appropriate.

14 III.     CONCLUSION

15          The defendant participated in a large and long-standing narcotics distribution conspiracy, and

16 conducted multiple kilogram-quantity narcotics transactions for thousands of dollars. For this serious

17 and dangerous conduct, the government asks to Court to impose a sentence of 51 months, which is

18 sufficient, and not greater than necessary, to achieve the goals of 18 U.S.C. § 3553(a). The government
19 also recommends the Court also impose three years of supervised release, no fine, and a $200 special

20 assessment.

21

22 DATED: April 19, 2022                                        Respectfully submitted,

23                                                              STEPHANIE M. HINDS
                                                                United States Attorney
24

25                                                                             /s/
                                                                ROSS WEINGARTEN
26                                                              Assistant United States Attorney
27 government believed that a sentence far higher—given his leadership role—was appropriate. Dkt. No.

28 325.

     U.S. SENTENCING MEMO.                           5
     CR 19-0054-02 RS
